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               Exhibit L
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                                                                                                   US008116735B2


(12) United States Patent                                                     (10) Patent No.:                     US 8,116,735 B2
       Liu et al.                                                             (45) Date of Patent:                           Feb. 14, 2012
(54) SYSTEMAND METHOD FOR MOBILE                                            2006/0291454 A1* 12/2006 Ali ................................ 370,352
        TELEPHONE ROAMING                                                   2007/0167161 A1          7/2007 Cheng et al.                  455,435.1
                                                                            2009/0163175 A1          6/2009 Shi et al. ....................... 455,411
                                                                            2011/0053640 A1          3/2011 Bennett et al. ............. 455,556.1
(75) Inventors: Jing Liu, Mountain View, CA (US);
                Richard Xu, San Jose, CA (US); Xiaolei                                        FOREIGN PATENT DOCUMENTS
                Qin, San Jose, CA (US)                                     EP              1850 607 A2          10/2007
                                                                           EP              1625 768 B1          11/2007
(73) Assignee: Simo Holdings Inc., Grand Cayman                            WO        WO 2004/105421 A3          12/2004
                (KY)                                                                              OTHER PUBLICATIONS
                                                                           International Search Report and Written Opinion mailed Apr. 7, 2009
(*) Notice:           Subject to any disclaimer, the term of this          in International Application No. PCT/US2009/033628.
                      patent is extended or adjusted under 35              3rd Generation Partnership Project, 3GPP TS 43.020: “Technical
                      U.S.C. 154(b) by 1022 days.                          Specification Group Services and System Aspects; Security related
                                                                           network functions.”. pp. 1-96, Nov. 2000.
(21) Appl. No.: 12/039,646                                                 3rd Generation Partnership Project, 3GPP TS 51.011: “Technical
                                                                           Specification Group Terminals; Specification of the Subscriber Iden
(22) Filed:           Feb. 28, 2008                                        tity Module—Mobile Equipment (SIM-ME) interface Technical
                                                                           Specification Group Terminals.” pp. 1-172, Jun. 2005.
                                                                           3rd Generation Partnership Project, 3GPP TS 51.014: “Specification
(65)                     Prior Publication Data                            of the SIM Application Toolkit for the Subscriber Identity Module—
        US 2009/0221265 A1             Sep. 3, 2009                        Mobile Equipment (SIM-ME) interface.”. pp. 1-85, Dec. 2004.
                                                                           U.S. Appl. No. 60/891,894, filed Feb. 27, 2007, Liu.
(51) Int. Cl.                                                              * cited by examiner
        H0474/00                   (2009.01)                               Primary Examiner — Lester Kincaid
(52) U.S. Cl. .................. 455/411; 455/432.1; 455/435.1;            Assistant Examiner — Steven Kelley
                                            455/556.1; 370/328             (74) Attorney, Agent, or Firm — K&L Gates LLP
(58) Field of Classification Search .................. 455/411,
                   455/432.2, 432.1, 435.1, 556.1; 370/328                 (57)                       ABSTRACT
        See application file for complete search history.                  A foreign wireless communication system is operated in a
                                                                           local communication network as if the foreign wireless com
(56)                     References Cited                                  munication system were a local wireless communication sys
                                                                           tem. A data communication link is established between the
                 U.S. PATENT DOCUMENTS                                     wireless communication system and a service provider in a
       6,603,968 B2    8/2003 Anvekar et al.                               local wireless communication network. An outgoing request
       6,836,670 B2      12/2004 Castrogiovanni et al. ... 455/558         for authentication information is communicated from the
       6,892,070 B2       5, 2005 Warrier et al. ............. 455,432.1   wireless communication system to a remote administration
       7,039,027 B2       5/2006 Bridgelall                                system over the data communication link. The authentication
       7,236,781 B2       6, 2007 Patil et al.                             information is received over the data communication link
     7,280,847   B2 * 10/2007 Goldthwaite et al. ........ 455,558          from the administration system and is transmitted over a
     7,289,805   B2 * 10/2007 Tom et al. ...........       455,432.1       signal link from the wireless communication system to the
     7,366,551   B1* 4/2008 Hartley ...                    455,575..1
     7,379,754   B2* 5/2008 Sharma ...                   ... 455,558       service provider. A requested wireless communication ser
     7.882.346   B2 * 2/2011 O'Neill et al. ................ T13,153       Vice is received at the wireless communication system based
 2005.0102519    A1    5/2005 Morper                                       on authentication of the wireless communication system by
 2006/0059393 A1* 3/2006 Oppold et al. ................ T14f710            the service provider using the authentication information.
 2006.0089.140 A1         4/2006 Zhang ..........            455,432.1
 2006/0262743 A1* 11/2006 Kalhan et al. ................. 370,328                         16 Claims, 15 Drawing Sheets




                                                                  a
                                                           Phona MetWork
                                                               112s




                                                                                   Provisioning
                                                                                     Sewer
                                                                                      132
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         a was www.www vesssssssssssswww.ww.www.www.------




                 Extension Unit
                              108
                                                                                                  ss
                                                                                                   2




                                                                                              s>
                                                                                                  Ps
                                                                                                  s 3.
                                                                                                 2S2
                                                                                                 C
                                                                                                   as
                                                                                                CS &S
                                                                                                2s as
                                                                          102

                                                                                          gS
                                                                                          AD
   106

                                                                     Service Provider
                                                                                          <)
                      -na            Ca-N
            Phone NetWork



    -- ----- -----


         -................--4----,
         : Communications :                                           Authentication             Provisioning    |
                        Server                                            Sever                        Server
                           128                                             118                          132

               :II.                                          CZd
                      Routing                                                    Subscriber
                     Database :                              Autank               Database
                            130                                 ra                  124
                 ---.........---
                                                                                              Admin System 116
    -------- ----------------------- -
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                                                        Authentication
                                                                Server
                                                                   118



                Processor
                  200
                                  Operating System                        210
    204
                                  NetWork Communication Module
                                  Accounting Module                      -214
                                  Management Module                       216




                Communication
                 Circuitry 208




                                   Figure 2A
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                                                         Provisioning
                                                                Server
                                                                  132



              Processor
                201
                               Operating System
   2O5
                               Network Communication Module
                               Remote Authentication Software
                               List of networks




              Communication
               Circuitry 209




                                Figure 2B
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                                  Subscriber
                                  Database
                                     124
                                                           300a

                                                        3O2
                            Identification
                                                        304
                      Wireless ACCOUnt Data
                                                        306
                            Home LOCation
                                                        3O8
                           Current Location
                                                        310
                            Tracking Data
                                                        312
                           Accounting Data
                      Pointer to Authentication         314
                       Data in Authentication
                                Bank




                                                           3OOb
                            Subscriber 2




                            Subscriber N                   30On




                              Figure 3A
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                                                   Authentication
                                                     Bank 126


                   320a               SIM 1
                   322a

                   320a       I       SIM2
                   322a
                                        O
                                        O
                                        O

                   32On              SIMN
                   322n


                   324a


                   324b.
                                         O
                                         O
                                         O



                   324n



                   326
                                  Authentication
                                    Information




                                  Figure 3B
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                 Processor                                                        402

   4O7              400                 Operating System                 o        408
                                        Network Communication Module          L   410
                                                                                  412
                                        Communications Application Software

              I/O 404




                                                             Communications
                  Communication                                       Server
                   Circuitry 406                                        128



                                          Figure 4A
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                                     Routing
                                     Database
                                       130
                                                                       420
              Roaming Subscribers
              Unique Subscriber Current Local Number for               424
              Number/Extension 1 Subscriber n


              Unique Subscriber       Current Local Number for
              Number/Extension in Subscriber n


                                                                       422
              Best Routes


                                                                       426
              S.F.     VOIP SF to London              London


                       VOIP S.F. to Sydney
              S.F.      PSTN Sydney to Perth          Perth




                              Figure 4B
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                                                                               512

                                      Operating System 520
                    Power Source
                         502          Network Communication Module 522
                                      Remote Authentication Module 524
       Processor
         500            Power
                                            Non-Local Calls DB 525
                     Management       Client Application(s) (e.g. Browser)
                     Module 504       526

                                                                               514




          User interface 506                    Auth. Data 530 (e.g., SIM)




                                      Wireless Communication Client 106, or
                                                 Wireless extension unit 108


                                   Figure 5A
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          Non-Local Calls Database 525
          Location 1      Area Code 1       Access Number 1




                             Figure 5B
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                                       Phone Enrolling in service
                                                 200


              Client 106
                and/or                                                Administration
        Extension Unit 108                   Data Network                   System
                                                 114                         116
                                       Subscriber information                    600

                                                                                 602
                                           Establish account




        608                        Download Authentication Module


              instal Module


                                 MCC and MNC for every supported network
       612


               Store data

                                    MCC and MNC for home location



                                                                    Store home location
                                                                        information
       618

                             a             - Acknowledgement - - - - - -




                                             Figure 6
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                                   Establishing Data Link
                                            700
                                                                          Service
                Client                                                    Provider
                 106                                                        110

                          Request for data communication link over                   702
                                         Command link


                                Request for authentication information               704
                                              Over Command link
  7O6


         Perform Lookup
                                                                                     708
                                   Authentication information
                                                                                       710
   C C                                                                     /1
        Local                                                        Authenticate client
        Auth.

                                                                                     712
                                Provide open data communication link




                                              Legend
                                               Command Link
                                          -    Data Link




                                               Figure 7
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                            Establishing Requested Communication Service
                                                   800
                                                Service                Admin System
            Client 106                       Provider 110                   116

       802               Request for wireless
                     Communication service


      804            Request for authentication
                              information
                                                                                  Subscriber
                                                                                   Database
      806                                                                            124
                           Request for authentication information


                                                                      Verify Subscriber


                                                                       Perform Lookup

      812
                                                                     Associate new phone
                                                                            number
                                                                     - - -                -
                         Authentication information Over data link                        N
                                                                                          811

      814          Authentication information

      816

                                            Authenticate Client
      818
                           Provide requested
                         Communication Service                          Legend
                                                                          Command Link
                                                                          Data Link
     Communicate with destination                                         e.g., voice
        device using provided                                             Service
      communication service link

                                            Figure 8
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                                        Establishing Requested Service
                                   (with Extension Unit used for voice) 900
      Extension              Client                             Service            Administration
          Unit                 106                              Provider            SVStem 116
          108                                                     110                 y     were
                                                                            902
                                         Request for wireless
                                        Communication service (
                                                                            904
                                     Request for authentication
                                             information
  906                                                                                       Subscriber
                   P- -                                                                      Database
                 Request Auth.                                                                     29
                  Information              Request for authentication information
                                                                            910
    908




                                                                            912


  914
                  Transmit
   916 - NAuthentication .N................Authentication information.
                  nformation



   918
                            s Authentication information

   922                                                      Authenticate
                                           Provide              Client
                                          requested
                                       Communication
                                           Service                            Legend
                                                                                    Command Link
  924 --                                                                   -------- Data Link
                        :      :                                                    e.g., voice
                                                Figure 9A                         service
                                                                                  and extension unit
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                                      Establishing Requested Service
                                  (with Extension Unit used for data) 928
       Extensi
           non              Client                             5.G.           Administration
         108                106                                   110           System 116
                                                                                       O

                                                                        930
                                        Request for wireless
                                       Communication Service


                                                                        932
                  Request for        Request for authentication
 934           authentication
                  information               information                                 SubScriber
                    ree                                                                     Database

                                                                                              124
 936




 942

                                     Authentication information


 944             Authentication
                   Information
 948
                                     Authentication information



 952
                                          Provide
                                         requested
                                      Communication                         Legend
                                         service                              Command Link
                                                                              Data Link
                                                                              e.g., voice
                                                                              Service

                                                                              and extension unit
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                                               Re-authentication
                                                     1000
       Client 106
         and/or
       Extension
        Unit 108                                    Service                 Administration
                r                                Provider 110                System 116

                      Provide requested
                    Communication service


                Request for authentication
              information over Command link
                                                                                      Subscriber
                                                                                       Database
   1 OO6                                                                                 124




                                                                            Verify Subscriber

                                                                     1010


   1012                                                                      Perform Lookup
                         Authentication information Over data link

   1O14                                   A.
              Authentication information Over
                       command link



                                               Authenticate client
             Continue to Provide
             requested communication
             Service




                                                Figure 10
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                                                     US 8,116,735 B2
                              1.                                                                  2
       SYSTEMAND METHOD FORMOBILE                                      dures agreed upon by the various service providers. A Sub
            TELEPHONE ROAMING                                          scriber's home network is the one where the mobile commu
                                                                       nications device is registered in the Home Location Register
                   TECHNICAL FIELD                                     (HLR). When a mobile communications device is powered on
                                                                       or transferred to a network, using the IMSI, the network
  The disclosed embodiments relate generally to mobile tele            determines whether the station is registered in its HLR. If it is,
communication systems, and in particular to a system and               the network is the subscriber's home network and communi
method for operating a foreign mobile telecommunications               cations proceed. If the mobile communications device is not
device in a local communication network as if it were a local          registered, the visited network attempts to identify the
mobile telecommunications device.                                 10   device's home network, and then requests service informa
                                                                       tion about the mobile communications device. If there is no
                      BACKGROUND                                       roaming agreement between the two service providers, or if
                                                                       the mobile communications device is not allowed to roam, the
  Historically, consumer telephones and computing devices              visited network denies service. If service is allowed, the vis
were tethered to telecommunications networks via one or           15   ited network establishes a Temporary Mobile Subscriber
more communication cables. Within the past few decades, the            Identity (TMSI) and begins to maintain a service record. The
reduced cost and size of electronics devices, improved and             home network updates its information to indicate that the
standardized communications technologies, and capital                  mobile communications device is on the visited network, its
investments in communications infrastructure have enabled              new host network, so any information sent to it can be routed
the widespread use of mobile Voice and data communications             correctly. When a call is made to a roaming mobile commu
devices that operate wirelessly using radio signals. The use of        nications device, the Public Switched Telephone Network
mobile telecommunications has grown so rapidly that wire               (PSTN) routes the call to the station's home network, which
less communications devices, such as cellular telephones,              then routes it to the visited network.
wireless personal digital assistants (PDA), and wireless lap              Although roaming provides necessary capabilities, it
top computers, are ubiquitous in today's industrialized coun      25   works only when the home and visited network use the same
tries. To communicate, these devices transmit and/or receive           communications technologies and have a roaming agree
audio, video, and/or data over wireless communications net             ment. Also, roaming fees, especially international fees, can be
works, like cellular, satellite, or WIFI networks.                     costly. Furthermore, from the subscriber's viewpoint roam
   The wireless communications service providers that oper             ing fees can appear unjustified, for example, when one mem
ate these wireless communications networks provide Sub            30   ber of a group of business travelers or tourists from the same
scribed services to the users of the wireless communications           home network calls another in the same visited network. To
devices by providing for registration, authentication, location        circumvent such difficulties, some subscribers purchase, rent
updating, handovers, call routing, etc.                                or borrow SIM cards or mobile communications devices with
   The most widespread wireless communication network in               SIM cards, for the visited or foreign network. For example, a
use today is that of cellular telephones. However, not all        35   traveler from the U.S. to the U.K. might rent or buy a SIM card
cellular telephone networks communicate using the same                 or cellular telephone from a vendor in London. Purchasing
standards. The most popular standard is the Global System              and Swapping-out SIM cards is inconvenient, inefficient, and
for Mobile communications (GSM), which is implemented                  technically challenging for most Subscribers, especially when
by communications service providers in over 200 countries              traveling to multiple foreign countries. This approach also
and territories. This allows GSM subscribers to use their         40   does not support incoming calls to the Subscriber's regular
cellular telephones and other GSM data communications                  cellular phone number. Moreover, most subscribers purchase
devices in many parts of the world. GSM specifies standards            prepaid SIM cards for a set amount and may either run out of
for voice communications and also for Short Message Ser                prepaid communication time on the card or pay for commu
vice (SMS) text messaging, General Packet Radio Service                nication time that they do not end up using.
(GPRS) packet data communications, and Enhanced Data              45      AS Such, a system and method that allows users to easily
Rates for GSM Evolution (EDGE) higher-speed data com                   travel between networks without being charged excessive
munications.                                                           roaming charges would be highly desirable.
  GSM provides subscriber verification and authentication,               Furthermore, in the case of wireless data services, like
and encrypts communications between Subscribers and the                WIFI or WIMAX, users may connect to remote wireless
remainder of the telecommunications network. A Subscriber         50   access points or “hotspots” by paying a monthly or hourly fee.
Identity Module (SIM), a detachable electronics card, stores           Monthly fees typically cost less per hour than the hourly fee
the subscriber's International Mobile Subscriber Identity              system, but users may not fully utilize the network for the
(IMSI), individual subscriber authentication key (Ki), cipher          entire period. As such, a system and method that allows users
ing key (Kc), and personal information Such has the Subscrib           to easily roam between networks, not be charged excessive
er's phonebook. The IMSI is composed of a Mobile Country          55   charges, and simplify all charges into a single invoice would
Code (MCC), a Mobile Network Code (MNC) and a sub                      be highly desirable.
scriber-specific Mobile Subscriber Identity Number (MSIN).
   The portability of SIM cards allows subscribers to easily                                     SUMMARY
swap SIM cards between GSM compatible devices and con
tinue to use the communications network using the Subscriber      60     The described embodiments apply to mobile and wireless
account associated with their SIM card.                                communication devices, including cellular telephones,
   A key GSM feature is roaming, the ability for a mobile              Smart-phones, laptop computers, palmtop computers, Ultra
customer to automatically make and receive Voice calls, send           Mobile Personal Computers (UMPC), PDA, dual-mode (tele
and receive data, or access other services, including data             and data-communications) phones, and other devices capable
services, when traveling outside the geographical coverage        65   of Voice and/or data communications like text messaging,
area of the home network. Roaming is Supported by mobility             Internet browsing, etc, such as a Blackberry(R) handheld
management, authentication, authorization and billing proce            device or portable computer. Embodiments of the present
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                                                      US 8,116,735 B2
                               3                                                                       4
invention makes wireless communication clients more con                            DESCRIPTION OF EMBODIMENTS
Venient and less expensive to operate in a multitude of geo
graphic locations, such as in different countries, different              The methods and systems described below allow a foreign
regions within a large country, or where different communi
cations technologies are required, such as CDMA and GSM.                wireless communication device to operate in a local wireless
  A user of a wireless mobile device subscribes to the service          communication network as if it were a local wireless com
described in the embodiments below. The service owns or                 munication client. For example, a cellular telephone associ
rents from local mobile service operators, local Subscriptions          ated with a wireless contract with AT&TR in San Francisco
and corresponding authentication data for a plurality of com            (the foreign wireless communication client) makes a tele
munications networks, and maintains a database of Subscrib         10   phone call from a VODAPHONE(R) cellular telephone net
ers and their current locations. When a subscriber travels to a         work in London (the local wireless communication network).
location in which the subscriber's mobile wireless commu
                                                                        Normally, AT&TR will charge the user of the cellular tele
nications device is not otherwise considered local (i.e., a             phone high roaming charges for calls made while in London.
foreign location), the mobile wireless communications                   However, the system and method described below enables the
device communicates with an authentication server (de              15   AT&TR) cellular telephone to operate in London as if it were
scribed below in relation to FIG. 1), which downloads the
parameters required to enable the device to operate as a vir            a cellular telephone associated with a contract with VODA
tual local mobile device. As a result, the mobile device's local        PHONE(R) in London. This ability to operate a foreign wire
communications in the foreign location are indistinguishable            less communication client in a local wireless communication
from those of any other mobile device for which the location            network as if it were a local wireless communication client
is local.                                                               provides significant cost savings to the user, who is no longer
   International and other non-local communications are                 Subject to the excessive roaming charges demanded by the
transferred to or from a Communications Server (also                    user's cellular phone provider.
described below in relation to FIG. 1) such that all outgoing              FIG. 1 shows a communications system 100 that includes a
calls are local to the communications network at the Subscrib
er's current location. Thus, the subscriber has all the conve      25   wireless communication network 102 coupled to a voice net
niences of local communications network Subscribers, and                work 112, such as a public switched telephone network
does not incur any roaming or other foreign-user communi                (PSTN), and a data network 114. The communications sys
cations charges, other than those charged by the service                tem 100 also includes an administration system 116 coupled
operator.                                                               to the voice network 112 and data network 114. The wireless
                                                                   30   communications network 102 may be used to communicate
      BRIEF DESCRIPTION OF THE DRAWINGS                                 voice and/or data and includes cellular telephone, WIFI, or
                                                                        WIMAX networks. In the case of a cellular telephone net
  FIG. 1 is a block diagram of an embodiment of a system for            work, the network 102 includes a number of cellular sites or
operating a foreign wireless telecommunications device in a             base stations 104, which typically consist of an antenna tower,
local communication network as if it were a local wireless         35
                                                                        transceiver radios (i.e., base transceiver station), and radio
telecommunications device.                                              controllers (i.e., base station controller). In the case of data
  FIG. 2A is a block diagram of an embodiment of the                    networks, such as WIFI or WIMAX, the network 102
authentication server shown in FIG. 1.
                                                                        includes a number of base stations 104, which typically
   FIG. 2B is a block diagram of an embodiment of the pro               include access points, wireless routers, or the like. Base sta
visioning server shown in FIG. 1.                                  40
                                                                        tions 104 include a transceiver, or a transmitter and receiver,
   FIG. 3A is a block diagram of an embodiment of the                   through which radio links are established between the net
subscriber database shown in FIG. 1.
  FIG. 3B is a block diagram of an embodiment of the                    work 102 and a number of wireless communication clients,
authentication bank shown in FIG. 1.                                    including the wireless communication client 106. The wire
  FIG. 4A is a block diagram of an embodiment of the               45   less communication client 106 may be any telephone or com
communications server shown in FIG. 1.                                  puting device capable of communicating wirelessly, Such as a
   FIG. 4B is a block diagram of an embodiment of the rout              cellular telephone handset, personal digital assistant (PDA),
ing database shown in FIG. 1.                                           computer, VOIP gateway, SIP phone, or the like. In some
   FIG. 5 is a block diagram of an embodiment of the wireless           embodiments, the wireless communication client 106 must
communication client (or wireless communication extension          50   be capable of accessing and communicating data. The wire
unit) shown in FIG. 1.                                                  less communication client 106 is discussed in detail below
   FIG. 6 is an embodiment of a flow diagram of a method of             with reference to FIG.S.A.
Subscribing a user, wireless communication client, or SIM                 Also shown in FIG. 1 is an optional wireless communica
card to the system of FIG. 1.                                           tion extension unit 108. In these embodiments, the extension
   FIG. 7 is an embodiment of a flow diagram of a method           55
                                                                        unit 108 is capable of communicating with both the wireless
establishing a data link for the wireless communication client          communication client 106 and the wireless communication
of FIG. 1.
   FIG. 8 is an embodiment of a flow diagram of a method of             network 102, including base station 104. The wireless com
                                                                        munication extension unit 108 is discussed in detail below
the wireless communication client using the system of FIG.1.
   FIG. 9 is an embodiment of a flow diagram of a method of        60   with reference to FIGS. 5B and FIG. 9. Also, as used herein
the wireless communication client and wireless communica                the combination of the wireless communication client 106
tion client extension unit using the system of FIG. 1.                  and/or the extension unit 108 is referred to as the wireless
   FIG. 10 is an embodiment of a flow diagram of a method of            communication system 101.
a wireless communication client re-authenticating with the                 The provider 110 of the wireless network 102 is coupled to
service provider of FIG. 1.                                        65   the one or more base stations 104. This service provider 110
   Like reference numerals refer to corresponding parts                 is also coupled to the voice network 112 and the data network
throughout the drawings.                                                114.
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                             5                                                                          6
   For convenience, the remainder of the description will refer          local wireless communication network). Here, the adminis
to the embodiment where the wireless network 102 is a cel                tration system 116 enables the AT&TR) cellular telephone to
lular telephone network, such as a GSM, GPRS (General                    operate in London as if it were a cellular telephone associated
Packet Radio Service), CDMA (Code Division Multiple                      with a contract with VODAPHONER) in London.
Access), EDGE Enhanced Data for GSM Evolution, 3GSM,                5      The administration system 116 includes at least one
DECT, IS-136, and iDEN, analog, and any combination of                   authentication server 118 coupled to a subscriber database
these, and the like. However, it should be appreciated that the          124 and an authentication bank 126, as well as at least one
same system can be used for providing any other type of                  optional communications server 128 coupled to a routing
wireless voice or data service, such as WIMAX, WiFI, VOIP,               database 130. The authentication server 118 primarily
etc.                                                                10   authenticates incoming requests for authentication and main
   The service provider 110 may include a number of mobile               tains subscriber accounts. The authentication server 118 is
telephone switching centers (“MSC), located at one or more               described further in reference to FIG. 2A. The communica
mobile telephone switching offices (“MTSO”) which route                  tions server 128 facilitates the rerouting of non-local calls to
the transmissions. Additionally, the service provider 110 may            further provide reduced cost routing. The communications
include one or more base cellular centers (“BSC), not               15   server 128 is described in detail below with reference to FIG.
shown, coupled between base stations 104 and the MSCs 20,                4A. The routing database 130 is described in detail below
for example, to handle call hand off.                                    with reference to FIG. 4B. The administration system 116
   The service provider 110 constantly monitors the signal               includes at least one provisioning server 132, which provides
strength of both the caller and receiver, locating the next cell         requesting Subscribers with remote authentication software.
site when signal strength fades, and automatically rerouting             The provisioning server 132 is described further in reference
the communications to maintain the communications link.                  to FIG.2B. The provisioning server 132 and/or authentication
For example, when the wireless communication client 106                  server 118 and/or communications server 128 may be imple
moves from one cell to another cell, the service provider 110            mented as one or more components local to regional net
monitors the movement, and transfers or hands-off the tele               works, at a central location, at enterprise computing/commu
phone call from a first base station to a new base station at the   25   nications centers, or in consumer products.
appropriate time. The transfer may include Switching the                   The one or more authentication banks 126 and/or the one or
radio frequency of the communication, and is transparent to              more subscriber databases 124 may be commonly housed or
the user. Thus, the service provider 110 acts like a standard            housed separately from the one or more associated authenti
PSTN or ISDN switching node, and additionally provides                   cation servers 118, communication servers 128, and routing
mobile Subscriber related functions such as registration,           30   databases 130. An authentication bank 126 is discussed in
authentication, location updating, handovers and call routing            detail below with reference to FIG. 3A. The subscriber data
to roaming subscribers.                                                  base 124 is discussed in detail below with reference to FIG.
   The service provider 110 typically employs one or more                3B. Some embodiments of the administration system 116
databases (e.g., Home Location Register “HLRanda Visitor                 may include additional components for redundancy and
Location Register “VLR) for tracking subscribers, routing           35   faster access time.
calls and roaming. The service provider 110 also typically                  FIG. 2A illustrates an embodiment of the authentication
employs a database (e.g., Authentication Center AuC) for                 server 118. The authentication server 118 contains a plurality
authenticating Subscribers, and a separate database (e.g.,               of components, such as at least one central processor 200; a
Equipment Identity Register "EIR) for verifying the equip                memory 202; communications circuitry 208; input and/or
ment. The service provider 110 allocates a routing number to        40   output devices 206, like a monitor, keyboard and mouse; and
each of the calls that the service provider 110 is switching.            at least one bus 204 that connects the aforementioned com
While the routing number is different than the unique sub                ponents. The memory 202 may comprise Random Access
scriber identifier (e.g., IMSI) and the unique equipment iden            Memory (RAM), Read Only Memory (ROM), or the like. The
tifier (e.g., International Mobile Equipment Identity “IMEI),            processor 200 may be any logic processing unit, such as one
the MTSO may define a relationship between the routing              45   or more central processing units (CPUs), digital signal pro
number and the Subscriber and/or equipment identifiers asso              cessors (DSPs), application-specific integrated circuits
ciated with each wireless communication client 106. These                (ASICs), etc. Different embodiments may include some orall
identifiers allow the service provider 110 to track and coor             of these components. Also in some embodiments, these com
dinate all wireless communication clients 106 in its service             ponents are at least partially housed within a housing.
area, and also allow the service provider 110 to determine the      50     In some embodiments the authentication server 118
validity of the call and caller.                                         includes a hard disk drive (not shown) for reading from and
  As is well understood and documented in the art, the ser               writing to a hard disk, and/oran optical disk drive (not shown)
vice provider 110 routes voice communications to other call              and/or a magnetic disk drive (not shown) for reading from and
ers on its network, through its network of base stations 104, or         writing to removable optical disks (not shown) and magnetic
to the PSTN network 112. Data communications are routed to          55   disks (not shown), respectively. The optical disk can be read
the data network 114, which is typically the Internet.                   by a CD-ROM, while the magnetic disk can be a magnetic
  The data network 114 is coupled to the administration                  floppy disk or diskette. The hard disk drive, optical disk drive,
system 116. The administration system 116 provisions the                 and magnetic disk drive may communicate with the process
foreign wireless communication client 106 to operate in a                ing unit via the bus 204. The hard disk drive, optical disk drive
local wireless communication network 102 as if it were a            60   and magnetic disk drive may include interfaces or controllers
local wireless communication client. By “foreign' it is meant            (not shown) coupled between such drives and the bus 204, as
that the wireless communication client 106 (or its SIM card)             is known by those skilled in the relevant art. The drives and
is not subscribed to the wireless communications network                 their associated computer-readable media, provide non-vola
102. For example, a cellular telephone associated with a                 tile storage of computer readable instructions, data structures,
wireless contract with AT&TR) in San Francisco (the foreign         65   program modules and other data for the authentication server
wireless communication client) is not subscribed to the                  118. Other types of computer-readable media that can store
VODAPHONE(R) cellular telephone network in London (the                   data accessible by a computer may be employed. Such a
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magnetic cassettes, flash memory cards, digital video disks               In some embodiments the provisioning server 132 includes
(DVD), Bernoulli cartridges, RAMs, ROMs, smart cards, etc.             a hard disk drive (not shown) for reading from and writing to
   The bus 204 can employ any known bus structures or                  a hard disk, and/oran optical disk drive (not shown) and/or a
architectures, including a memory bus with memory control              magnetic disk drive (not shown) for reading from and writing
ler, a peripheral bus, and a local bus. Unless described other         to removable optical disks (not shown) and magnetic disks
wise, the construction and operation of the various blocks             (not shown), respectively. The optical disk can be read by a
shown in FIG.2A are of conventional design. As a result, Such          CD-ROM, while the magnetic disk can be a magnetic floppy
blocks need not be described in further detail herein, as they         disk or diskette. The hard disk drive, optical disk drive, and
are well understood by those skilled in the relevant art.              magnetic disk drive may communicate with the processing
   The communications circuitry 208 is used for communi           10   unit via the bus 205. The hard disk drive, optical disk drive
cating with the data network 114, service provider 110, wire           and magnetic disk drive may include interfaces or controllers
less communication client 106, and/or extension unit 108.              (not shown) coupled between such drives and the bus 205, as
   The memory 202 may include one or more application                  is known by those skilled in the relevant art. The drives and
                                                                       their associated computer-readable media, provide non-vola
programs, modules, and/or data, including an operating sys        15   tile storage of computer readable instructions, data structures,
tem 210 which has instructions for communicating, process              program modules and other data for the authentication server
ing, accessing, storing, or searching data. Examples of Suit           118. Other types of computer-readable media that can store
able operating systems include DOS, UNIX, WINDOWS, or                  data accessible by a computer may be employed. Such a
LINUX. The operating system may also include a basic input/            magnetic cassettes, flash memory cards, digital video disks
output system (BIOS), which may form part of the ROM, may              (DVD), Bernoulli cartridges, RAMs, ROMs, Smart cards, etc.
contain basic routines to help transfer information between               The bus 205 can employ any known bus structures or
elements within the authentication server 118, such as during          architectures, including a memory bus with memory control
startup. In addition, the memory 202 may also include a                ler, a peripheral bus, and a local bus. Unless described other
network communication module 212 for communicating                     wise, the construction and operation of the various blocks
with the data network 114, service provider 110, wireless         25   shown in FIG. 2B are of conventional design. As a result, such
communication client 106, and/or extension unit 108; an                blocks need not be described in further detail herein, as they
accounting module 214, and a management module 216.                    are well understood by those skilled in the relevant art.
Different embodiments may include some or all of these                    The communications circuitry 209 is used for communi
procedures or modules in memory.                                       cating with the data network 114, service provider 110, wire
  In some embodiments, the network communication mod              30   less communication client 106, and/or extension unit 108.
ule 212 receives requests from wireless communication cli                 The memory 203 may include one or more application
ents 106 and/or wireless communication client extension                programs, modules, and/or data, including an operating sys
units 108 for authentication information and passes the                tem 211 which has instructions for communicating, process
request to the management module 216. In some embodi                   ing, accessing, storing, or searching data. Examples of Suit
ments, after verifying the requestor based on subscriber infor    35   able operating systems include DOS, UNIX, WINDOWS, or
mation stored in subscriber database 124 and/or after updat            LINUX. The operating system may also include a basic input/
ing the subscriber information stored in subscriber database           output system (BIOS), which may form part of the ROM, may
124, the management module 216 locates and provides local              contain basic routines to help transfer information between
wireless network authentication information from the authen            elements within the authentication server 118, such as during
tication bank 126 to the requesting wireless communication        40   startup. In addition, the memory 203 may also include a
client 106 or extension unit 108. Further details of the method        network communication module 213 for communicating
for authenticating a client 106 are provided below with ref            with the data network 114, service provider 110, wireless
erence to FIGS. 7 and 8.                                               communication client 106, and/or extension unit 108; remote
   The accounting module 214 manages various Subscriber                authentication Software 215 (e.g., a list of area codes and
accounts, including maintaining: a list of active Subscriber      45   corresponding locations; a list of local dial-intelephone num
accounts in the Subscriber database 124; tracking and calcu            bers for use when the subscriber wants to make a non-local
lating Subscriberusage; allocating costs for wireless account          call; etc); and a list of networks 217. Different embodiments
usage; and/or generating billing data. In some embodiments,            may include Some or all of these procedures or modules in
the accounting and management modules continually update               memory.
records in the subscriber database 124 indicating when and        50     In some embodiments, the network communication mod
how long a particular local wireless account (e.g., an account         ule 213 receives requests from wireless communication cli
with VODAPHONE(R) was used by a particular subscriber                  ents 106 and/or wireless communication client extension
using a particular wireless communication client 106.                  units 108 for remote authentication software 215. In some
   FIG. 2B illustrates an embodiment of the provisioning               embodiments, the memory 203 stores multiple versions of
server 132 of FIG.1. The provisioning server 132 contains a       55   remote authentication software 215 corresponding to differ
plurality of components, such as at least one central processor        ent communication networks (e.g., GSM, CDMA, and so on)
201; a memory 203; communications circuitry 209; input                 and different mobile operating systems, such as PALMOS or
and/or output devices 207, like a monitor, keyboard and                BLACKBERRY OS. The operating system 211 contains
mouse; and at least one bus 205 that connects the aforemen             instructions to determine what type of wireless/mobile net
tioned components. The memory 203 may comprise Random             60   work (e.g., GSM, CDMA, and so on) and mobile operating
Access Memory (RAM), Read Only Memory (ROM), or the                    system is being used by the requesting wireless communica
like. The processor 201 may be any logic processing unit,              tion system 101, for instance, by using list of networks 217
Such as one or more central processing units (CPUs), digital           and provide the requesting wireless communication system
signal processors (DSPs), application-specific integrated cir          101 with an appropriate version of the remote authentication
cuits (ASICs), etc. Different embodiments may include some        65   software 215. Further details of the method for a wireless
or all of these components. Also in Some embodiments, these            communication system 101 enrolling in remote authentica
components are at least partially housed within a housing.             tion service is provided below with reference to FIG. 6.
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  FIG. 3A is a block diagram of an embodiment of the                    visioning wireless communication for the wireless commu
subscriber database 124 shown in FIG. 1. The subscriber                 nication clients 106 and/or extension units 108 (FIG. 1) in
database 124 includes data for one or more users or subscrib            locations that have GSM networks, such as the U.K. A stored
ers 300a-300n of the system. For each subscriber, the sub               physical identification module 320 may include one or more
scriber database 124 stores identification data 302, such as the        of Subscriber Identity Module (SIM) cards, a Universal Sub
Subscriber's contact details, billing address, a unique identi          scriber Identity Module (USIM) cards, a Removable User
fier of the subscriber's wireless communication device 106,             Identity Module (RUIM) cards, a Willcom-SIM, a Universal
SIM card, or extension unit 108. The identification data may            SIM, etc. In the description herein, the term SIM is used to
include personal demographic information (e.g., name,                   refer to any such physical identification module.
address, telephone number, email address), financial infor         10     Most wireless communications devices include secure
mation (e.g., credit card information), user web portal login           authentication data within the device. In Global System for
information (e.g., username and password), etc.                         Mobile (GSM) communication systems, a removable smart
   For each subscriber, the subscriber database 124 may also            card Integrated Circuit Card (ICC), also known as a sub
store the home location 306 where the user or subscriber has            scriber identity module (“SIM) card, securely stores sub
his/her account; the current location 308 of the wireless com      15   scriber related data or information, Such as a service-Sub
munication device 106, SIM card, and/or extension unit 108              scriber key (IMSI) used to identify a subscriber. The SIM card
of the subscriber; subscriber tracking data 310; accounting             allows users to change phones by simply removing the SIM
data 312 for the subscriber; and/or a pointer to the authenti           card from one cellular or mobile phone and inserting it into
cation data currently being used by the subscriber and stored           another cellular phone or broadband telephony device. The
in the authentication bank 126 (FIG. 1). The home location              SIM card may also store one or more identifiers that uniquely
306 is the geographic location where the subscriber has their           identify a subscriber account. In other communication sys
wireless account, such as San Francisco for the subscriber's            tems, such as the Universal Mobile Telecommunications Sys
AT&TR) cellular telephone account. The home location data               tem (UMTS), the equivalent of a SIM card is called the
may also include the wireless communication client data for             Universal Subscriber Identity Module (USIM). Similarly, in
the subscriber's home location (home public lands mobile           25   networks that use Code division multiple access (CDMA),
network (HPLMN) and telephone number), and wireless                     the Removable User Identity Module (RUIM) is more popu
communication client data for the Subscriber's current loca             lar. However, many CDMA-based networks do not require
tion (registered public lands mobile network (RPLMN)).                  any such card, and the service is bound to a unique identifier
Similarly, the current location 308 is the location where the           contained in the wireless device itself.
subscriber's wireless communication device 106, SIM card,          30      SIM cards store network specific information used to
and/or extension unit 108 is, as determined by the system               authenticate and identify subscribers on the network, the most
(described in detail below). For example, the current location          important of these are the ICCID, IMSI, Authentication Key
is London, England. The tracking data 310 are data collected            (Ki), Local Area Identity (LAI) and Operator-Specific Emer
about the user's connectivity sessions, times, locations, etc.          gency Number. The SIM also stores other carrier specific data
The accounting data 312 is a calculation of the user's com         35   such as the SMSC (Short Message Service Center) number,
munication session times, costs per minute per location, run            Service Provider Name (SPN), Service Dialing Numbers
ning and total costs, etc. Invoices may be generated from the           (SDN), Advice-Of-Charge parameters and Value Added Ser
accounting data 312. Finally, the wireless account data 304             vice (VAS) applications.
may include a pointer to the authentication data in the authen             In networks using SIM cards, when the wireless commu
tication bank that the Subscriber is currently using or has        40   nications device is turned on, it obtains the IMSI from the
historically used. For example, while in London, the user may           SIM card, and passes this to the network operator (such as
be authenticating service from a particular VODAPHONE(R)                service provider 110) requesting access and authentication.
SIM card in the authentication bank 126 (FIG. 1), which has             The network operator searches its database for the incoming
an associated account profile stored in the accounting module           IMSI and its associated Ki. The network operator then gen
214 (FIG. 2A) that has a particular profile of cost per minute     45   erates a Random Number (RAND) and signs it with the Ki
for different times of the day. It should be noted that the             associated with the IMSI (and stored on the SIM card), com
pointer 314 does not need to remain associated with particular          puting another number known as Signed Response
authentication data and can change for each wireless commu              (SRES 1). The network operator then sends the RAND to the
nication session. For example, the Subscriber may use a par             wireless communications device, which passes it to the SIM
ticular VODAPHONE(R) SIM card (and associated account)             50   card. The SIM card signs it with its Ki, producing SRES 2
when making a call during the day in London, and an                     which it gives to the wireless communications device along
ORANGER SIM card when making a call in the evening in                   with encryption key Kc. The Mobile wireless communica
London. The accounting module 214 automatically deter                   tions device passes SRES 2 on to the network operator. The
mines the most cost effective account (and associated SIM               operator network then compares its computed SRES 1 with
card) to use at any particular time and location. This process     55   the computed SRES 2 that the wireless communications
is transparent to the user.                                             device returned. If the two numbers match the SIM is authen
   FIG. 3B is a block diagram of the authentication bank 126            ticated and the wireless communications device is granted
shown in FIG.1. The authentication bank 126 contains one or             access to the network. Kc is used to encrypt all further com
more: physical identification modules (e.g., SIM cards)320a             munications between the wireless communications device
320n; phones 324a-324n; and/or other authentication infor          60   and the network. The network may periodically require re
mation 326. In use, the management module 214 (FIG. 2A)                 authentication of the wireless communications device.
and the accounting module 216 (FIG. 1) of the authentication              Also, as explained in detail below, the phones 324 are used
server 118 (FIGS. 1 and 2) access the authentication bank 126           for provisioning wireless communication for the wireless
to obtain authentication information for the current location           communication clients 106 and/or extension units 108 (FIG.
of a particular wireless communication client 106 and/or           65   1) in locations that store authentication data directly on the
extension unit 108 (FIG. 1). As explained in detail below, the          phone and notona SIM card, such as is common with CDMA
stored physical identification modules 320 are used for pro             carriers like SPRINTR). The authentication information 326
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is used for provisioning other wireless communication, Such               The bus 407 can employ any known bus structures or
as for WIFI hotspot authentication or the like.                        architectures, including a memory bus with memory control
   Each of the SIM cards 320a-n may be received in a physical          ler, a peripheral bus, and a local bus. Unless described other
slot 322a-n, which is sized and dimensioned for receiving              wise, the construction and operation of the various blocks
SIM cards. Each slot, may for example, take the form of a              shown in FIG. 4A are of conventional design. As a result, Such
number of electrical contacts or optical transceivers aligned          blocks need not be described in further detail herein, as they
to couple with a complementary interface on the SIM card. A            are well understood by those skilled in the relevant art.
universal asynchronous receiver/transceiver (UART) (not                   The memory 402 may comprise Random Access Memory
shown) is associated with each of the SIM slots 322. The               (RAM), Read Only Memory (ROM), orthelike. The memory
UART is a device, usually in the form of an integrated circuit,   10   402 may include one or more application programs, modules,
which performs the parallel-to-serial conversion of digital            and/or data, including an operating system 408 which has
data that has been transmitted, for example, from a modem or           instructions for communicating, processing, accessing, Stor
other serial port, for use by a computer, and which converts           ing, or searching data. Examples of Suitable operating sys
parallel to serial, for example, Suitable for asynchronous             tems include LINUX, JAVA, WINDOWS MOBILE, PALM
transmission over phone lines.                                    15   OS, or the like. The operating system may also include a basic
   It should be appreciated that although SIM cards are                input/output system (BIOS), which may form part of the
described herein, any comparable readable media may that               ROM, may contain basic routines to help transfer information
stores unique Subscriber identifying information, such as an           between elements within the communications server 128,
IMSI and/or secret key, may be used. For example, such                 Such as during startup. In addition, the memory 402 may also
readable media may include Universal Subscriber Identity               include a network communication module 410 for commu
Module, a Removable User Identity Module, a Willcom-SIM,               nicating with the data network 114, voice network 112 (FIG.
and a Universal SIM.                                                   1), and routing database 130 (FIG. 1); and communications
  In some embodiments, a phone 324a and/or SIM 320a                    application Software 412 for receiving calls, determining the
and/or authentication information 326 has associated with it a         most efficient or suitable route for the call, and thereafter
corresponding unique phone number. Accordingly, when              25   routing the call. For instance, for an AT&TR) subscriber in
phone 324a and/or SIM 320a and/or authentication informa               London trying to make a call using the VODAPHONER)
tion 326 is assigned to a particular wireless communication            network, the communications server may determine the fol
client 101, the unique phone number is assigned to the wire            lowing routing matrix: for calls that will not incur interna
less communication client 101 as well. In some embodi                  tional roaming (e.g., within U.K.), use authentication infor
ments, the assignation information is stored in Subscriber        30   mation associated with the VODAPHONER) network; and for
database 124 and/or routing database 130.                              calls that would incur international roaming (e.g., to New
  FIG. 4A is a block diagram of an embodiment of the                   Zealand), determine a routing path, use authentication infor
communications server 128 shown in FIG.1. The communi                  mation associated with networks in the routing path.
cations server 128 contains a plurality of components, such as            FIG. 4B is a block diagram of an embodiment of the rout
at least one processor 400; a memory 402; communications          35   ing database 130 shown in FIG. 1. The routing database
circuitry 406; input and/or output devices 404, like a display,        includes a roaming Subscribers database 420 and a best routes
keyboard, and mouse; and at least one bus 407 that connects            database 422. The roaming subscribers database 420 lists the
the aforementioned components. Different embodiments                   unique phone number or extension of each Subscriber, i.e., the
may include Some or all of these components. Also in some              unique telephone number assigned to the roaming Subscriber
embodiments, these components are at least partially housed       40   and to which all calls to his regular number are forwarded, as
within a housing. The processor 400 may be any logic pro               well as the corresponding local number currently assigned to
cessing unit, such as one or more central processing units             the roaming subscriber 424. For example, the AT&TR sub
(CPUs), digital signal processors (DSPs), application-spe              scriber having a phone number 415-555-1234 may be
cific integrated circuits (ASICs), etc.                                assigned currentVODAPHONE(R) number in London of +44
   The communications circuitry 406 is used for communi           45   08457-300-123. The best routes database 422 lists the pre
cating with the data and voice networks 114 and 112 respec             ferred routing details for connections between different geo
tively (FIG. 1). In some embodiments the communications                graphic locations, such as between San Francisco and
server 128 includes a hard disk drive (not shown) for reading          London, between San Francisco and Perth, and so on.
from and writing to a hard disk, and/or an optical disk drive             Other embodiments for routing calls may be implemented
(not shown) and/or a magnetic disk drive (not shown) for          50   by communications server 128. For instance, communica
reading from and writing to removable optical disks (not               tions server 128 that is local to the region from which the call
shown) and magnetic disks (not shown), respectively. The               originates may switch the call to a second communications
optical disk can be read by a CD-ROM, while the magnetic               server 128 in the called wireless communication clients
disk can be a magnetic floppy disk or diskette. The hard disk          home location. Then the second communications server 128
drive, optical disk drive, and magnetic disk drive may com        55   locates the called wireless communication client and, using
municate with the processing unit via the bus 407. The hard            standard telecommunications technology and protocols,
disk drive, optical disk drive and magnetic disk drive may             switches the call to the local network 102 for the called
include interfaces or controllers (not shown) coupled                  wireless communication client’s current location. In this way,
between such drives and the bus 407, as is known by those              the calling wireless communication client makes a local out
skilled in the relevant art. The drives and their associated      60   bound call to its local communications server 128, and the
computer-readable media, provide non-volatile storage of               called wireless communication client receives an inbound
computer readable instructions, data structures, program               local call over its local network 102.
modules and other data for the communications server 128.                 FIG. 5A is a block diagram of the wireless communication
Other types of computer-readable media that can store data             client 106 (or wireless extension unit 108) shown in FIG. 1.
accessible by a computer may be employed, such a magnetic         65   The wireless communication client 106 (or wireless exten
cassettes, flash memory cards, digital video disks (DVD),              sion unit 108) contains a plurality of components, such as at
Bernoulli cartridges, RAMs, ROMs, Smart cards, etc.                    least one processor 500; a memory 502; communications
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circuitry 518 coupled to one or more wireless radios or trans          ule 524 (optionally including a non-local calls database 525,
ceivers 540; user interface devices 506, like a display 508,           which is discussed further in reference to FIG. 5B), and other
keypad 510, speaker, and microphone 511; a self-contained              client applications 526, such as a Web browser etc. Different
power source 502 like a battery, coupled to a power manage             embodiments may include Some or all of these procedures or
ment module 504, and at least one bus 514 that connects the            modules in memory.
aforementioned components. The wireless communication                     In the case of cellular phones, and in particular GSM cel
client 106 (or wireless extension unit 108) stores at least a          lular phones, the wireless communications device 106
portion of authentication data 530 either on a SIM card and/or         includes one or more SIM card interfaces, such a SIM card
in memory 512 as authentication information. Different                 slots, electrical contacts such as pins, optical transceivers, or
embodiments may include Some or all of these components.          10   other interfaces. In some embodiments, the SIM card inter
Also in some embodiments, these components are at least                faces may be empty, where the wireless communications
partially housed within a housing. The processor 500 may be            device 106 relies completely on remote authentication from
any logic processing unit. Such as one or more central pro             the instant system, while in other embodiments the SIM inter
cessing units (CPUs), digital signal processors (DSPs), appli          faces may contain a SIM card 530. The technical details of the
cation-specific integrated circuits (ASICs), etc.                 15   SIM card 530 will not be repeated here, as they are well
   The communications circuitry 518 is used for communi                known in the art.
cating with the service provider 110, and/or extension unit               In some embodiments, the wireless extension unit 108
108, and/or data network 114, and/or voice network 112 (FIG.           included fewer components, modules, and procedures than
1). The transceivers 540 may include cellular telephone trans          listed above. In these embodiments, the wireless extension
ceivers as well as BLUETOOTH transceivers or the like, e.g.,           unit 108 does not include a user interface 506 or client appli
to communicate with wireless extension unit 108.                       cations 526. In some embodiments that utilize the wireless
   The memory 512 may comprise Random Access Memory                    extension unit 108, the wireless communication client 106
(RAM), Read Only Memory (ROM), or the like. In some                    communicates either exclusively voice or data, while the
embodiments the wireless communication client 106 (or                  wireless extension unit 108 communicates the other. For
wireless extension unit 108) includes a hard disk drive (not      25   example, the wireless communication client 106 may com
shown) for reading from and writing to a hard disk, and/oran           municate data over the data network 114 (FIG. 1) using the
optical disk drive (not shown) and/or a magnetic disk drive            wireless communication client’s existing wireless account,
(not shown) for reading from and writing to removable optical          such as the AT&TR) account, and the wireless extension unit
disks (not shown) and magnetic disks (not shown), respec               108 may communicate voice with the service provider 110
tively. The optical disk can be read by a CD-ROM, while the       30   (FIG.1) and voice network 112. In these embodiments, and as
magnetic disk can be a magnetic floppy disk or diskette. The           described in detail below, wireless communication client 106
hard disk drive, optical disk drive, and magnetic disk drive           communicates voice signals between itself and the extension
may communicate with the processing unit via the bus 514.              unit, which communicates the Voice communications
The hard disk drive, optical disk drive and magnetic disk drive        between itself and the service provider 110 (FIG. 1), such as
may include interfaces or controllers (not shown) coupled         35   by using a cellular phone's BLOOTOOTH transceiver.
between such drives and the bus 514, as is known by those                FIG. 5B is a block diagram of the non-local calls database
skilled in the relevant art. The drives and their associated           525 of FIG. 5A. The non-local calls database 525 lists various
computer-readable media, provide non-volatile storage of               locations, corresponding area codes, and corresponding local
computer readable instructions, data structures, program               dial-in telephone numbers for use when the subscriber wants
modules and other data for the wireless communication client      40   to make a non-local call when presentata particular location.
106 (or wireless extension unit 108). Other types of com               For example, when a user desires to make a non-local call
puter-readable media that can store data accessible by a com           when within a particular location (e.g., a visiting caller in
puter may be employed, such a magnetic cassettes, flash                London wants to call his home office in San Francisco), the
memory cards, digital video disks (DVD), Bernoulli car                 client 106 or extension unit 108 is able to determine that the
tridges, RAMs, ROMs, smart cards, etc.                            45   called number is not within the local area, and then dial a local
   The bus 514 can employ any known bus structures or                  communication server 128 (FIG. 1) at a local number from
architectures, including a memory bus with memory control              the list. The communication server 128 (FIG. 1), using the
ler, a peripheral bus, and a local bus. Unless described other         routing database 130, then reroutes the call to the destination
wise, the construction and operation of the various blocks             using the most Suitable route. For example, the communica
shown in FIG.5A are of conventional design. As a result, such     50   tions server 128 (FIG. 1) may route the call over Voice Over
blocks need not be described in further detail herein, as they         IP (VOIP) to another communication server near the destina
are well understood by those skilled in the relevant art.              tion in San Francisco, thereby greatly reducing the cost of the
   The memory 512 may include one or more application                  call.
programs, modules, and/or data, including an operating sys               FIG. 6 is an embodiment of a flow diagram of a method 200
tem 520 which has instructions for communicating, process         55   of Subscribing a user, wireless communication client 106.
ing, accessing, storing, or searching data. Examples of Suit           wireless communication extension unit 108, and/or SIM card
able operating systems include LINUX, JAVA, WINDOWS                    to the system of FIG.1. Initially, the subscriber, using either
MOBILE, PALM OS, or the like. The operating system may                 the wireless communication client 106, the wireless commu
also include a basic input/output system (BIOS), which may             nication extension unit 108, a combination of the client 106
form part of the ROM, may contain basic routines to help          60   and the extension unit 108, or a web browser on any comput
transfer information between elements within the wireless              ing device, requests a Subscription to the administration sys
communication client 106 (or wireless extension unit 108),             tem 116. The connection to the provisioning server 132 may
Such as during startup. In addition, the memory 512 may also           be via a wireless (for example, 3G, GPRS, EDGE or WiFi) or
include a network communication module 522 for commu                   wired (for example, Internet or intranet) connection.
nicating with the service provider 110, (extension unit 108),     65      The subscriber initiates the request by submitting sub
(wireless communication client 106), data network 114, and/            scriber information (e.g., name, home location, billing
or voice network 112 (FIG. 1); a remote authentication mod             details, phone number, home service provider name, user
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name, and password) to the administration system 116, at                710. Once the client 106 has been authenticated, a local
600. A subscriber account is then established at 602. The               wireless service over data link is provided, including the
subscriber account details are then stored by the authentica            provision of a data communication link at 712. In some
tion server 118 in the subscriber database 124 (FIG. 1) at 604.         embodiments, the data communication link is established
The subscriber then downloads remote authentication mod                 between the wireless communication client 106 and the ser
ule 524 (FIG. 5A) from administration system 116, at 608,               vice provider 110, while in other embodiments, the data com
and installs it on the wireless communication client 106 and/           munication link is established between the wireless commu
or wireless extension unit 108 at 608. In some embodiments,             nication extension unit 106 and the service provider 110.
the remote authentication module 524 (FIG. 5A) includes: a                The method described in FIG. 7 is not necessary when
list of area codes and corresponding locations; a list of local    10   provisioning a wireless data communication service like
dial-in telephone numbers for use when the subscriber wants             WIFI or WIMAX, where the remote authentication is handled
to make a non-local call; etc. 525 (FIG.5A). In some embodi             as described with reference to the following figures.
ments, the remote authentication module 524 (FIG. 5A) on                   FIG. 8 is an embodiment of a method 800 of establishing a
the extension unit 108 is preloaded on the unit at time of              virtual local wireless service for the wireless communication
manufacture. Also in Some embodiments, updates to the              15   client 106 (FIG. 1) once a data communications link has been
remote authentication module 524 (FIG. 5A) are sent auto                established. In some embodiments, wireless communication
matically to the client 106 or extension unit 108 when needed.          client 106 has the capability of accessing a radio for commu
In the case where the remote authentication module 524 (FIG.            nications services, such as Voice, while using a data connec
5) is downloaded via a Web browser onto a separate comput               tion to access remote authentication data to register as a local
ing device, Such as a Subscriber's desktop computer, the Sub            user. This method 800 is performed without the assistance of
scriber must transfer and install the module onto the wireless          the extension unit 108. As soon as the wireless communica
communication client 106 and/or wireless extension unit 108             tion client 106 is turned on, or as soon as the wireless com
at 608.                                                                 munication client 106 attempts to make a call, it requests
  Using the network authentication module 552 (FIG. 5A),                access to the desired wireless service by sending a request to
the wireless communication client 106 transmits its creden         25   the local service provider 110 over signal link at 802. For
tials parameters, and its location parameters, such as its MMC          example, a subscriber with an AT&TR account in San Fran
and MNC, to the provisioning server 118, at 614. In some                cisco turns on his cellular phone in London. Initially, a data
embodiments, the wireless communication client 106 deter                connection is needed, and is established pursuant to FIG. 7.
mines its location information based on a detection of avail            The service provider 110 responds by requesting authentica
able cellular networks. The provisioning server 118 may            30   tion information from the wireless communication client 106
optionally transmit to wireless communication client 106 the            over signal link at 804. The remote authentication module 524
IMSI and PLMN, and other information extracted from                     (FIG. 5A) on the wireless communication client 106 then
authentication bank 126 that is capable of being transmitted            requests local authentication in Formation from the adminis
per Subscription based on the location information and avail            tration system 116, over the data channel, at 806. The request
ability of those parameters. The provisioning server 118           35   typically includes the request received from the service pro
stores these data, and also the Subscribers personal and pay            vider, a unique Subscriber or wireless communication client
ment information in the subscriber database 124 (FIG. 1), at            identifier and/or password, and the wireless communication
616, and then optionally sends an acknowledgement to the                clients current location. The administration system 116
wireless communication client 106 at 618. In some embodi                receives the request for the authentication information and
ments, the wireless communication client 106 (or wireless          40   first verifies that the Subscriber has an account in good stand
extension unit 108) stores at least a portion of the incoming           ing, at 808, by searching the subscriber database for the
authentication data either on a SIM card and/or in memory               account associated with the particular subscriber of wireless
512 as authentication information.                                      communication client. If the Subscriber (or wireless commu
  FIG. 7 is an embodiment of a method 700 for establishing              nication client) is verified, the authentication server 118 of the
a data link for the wireless communication client 106 shown        45   administration system 116 obtains suitable local authentica
in FIG. 1. Initially, the wireless communication client 106             tion information from the authentication bank 126, at 810.
requests service over signal link, in this case data service,           The management module 216 (FIG. 2A) on the authentication
from the local wireless network carrier at 702. For example, a          server 118 (FIG. 1) determines local wireless account that is
subscriber with an AT&TR wireless account in San Francisco              most suitable and available and then obtains the authentica
is traveling to London. The subscriber turns on their cellular     50   tion information for that account from the authentication
telephone, which automatically establishes a network con                bank 126. For example, if the subscriber is calling during the
nection if possible, i.e., the Subscriber has international roam        day in London, the system determines from multiple accounts
ing privileges, a GSM phone, etc. The request for service may           that a particular VODAPHONE(R) account is not being used
be a request of any of a cellular phone service, a short message        and offers the best rate for the location and time of day, and
service (SMS), a mobile email service, a mobile instant mes        55   obtains the authentication information for that VODA
saging service, an Internet access service, a Voice Over Inter          PHONER) account from the SIM card associated with that
net Protocol (VOIP) service, a multimedia message service               acCOunt.
(MMS), or any combination of the aforementioned.                          Optionally, at 811, the administration system associates a
   To establish service, the local service provider 110 requests        phone number that is local to the local communications net
authentication information from the wireless communication         60   work with the requesting wireless communications system
client 106 over signal link at 704. The wireless communica              101. In some embodiments, a phone 324a and/or SIM 320a
tion client 106 locates the necessary authentication informa            and/or authentication information 326 has associated with it a
tion from the authentication data 530 (FIG. 5A) at 706. This            corresponding unique phone number. Accordingly, when
authentication data may be obtained from a local SIM card or            phone 324a and/or SIM 320a and/or authentication informa
from authentication data 530 stored in memory 512. The             65   tion 326 is assigned to a particular wireless communication
authentication data is then sent to the service provider over           client 101, the unique phone number is assigned to the wire
signal link at 708, which then authenticates the client 106 at          less communication client 101 as well. In some embodi
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ments, the assignation information is stored in Subscriber              nication extension unit identifier and/or password, and the
database 124 and/or routing database 130. For example, an               wireless communication extension units current location.
AT&TR) subscriber having a phone number 415-555-000 in                  The administration system 116 receives the request for the
London is assigned a VODAPHONER) number in London of                    authentication information and verifies that the subscriber has
+44-08457-300-000, so that it appears as a local phone num         5    an account in good Standing, at 910, by searching the Sub
ber to VODAPHONE(R) and does not get charged exorbitant                 scriber database for the account associated with the particular
roaming charges.                                                        subscriber of wireless communication client. If the subscriber
  The authentication information is then sent to the wireless
communication client, over the data link, at 812. In some
                                                                        (or wireless communication extension unit) is verified, the
embodiments, optionally, the wireless communication client         10
                                                                        authentication server 119 of the administration system 116
                                                                        obtains suitable local authentication information from the
stores a portion or all of the authentication information, for          authentication bank 126, at 912. In particular, the manage
instance in memory 512, at 813. The wireless communication              ment module 216 (FIG. 2A) on the authentication server 119
client receives the authentication information and sends it to
the service provider 110 over signal link at 814. The service           (FIG. 1) determines which local wireless account is most
                                                                        suitable and then obtains the authentication information for
provider then authenticates the wireless communication cli         15
ent as a local wireless communication client, at 816, and               that account from the authentication bank 126. For example,
provides the requested service to the wireless communication            if the Subscriber is calling during the day in London, the
client at 818. The wireless communication client may then               system determines from multiple accounts that a particular
communicate with a destination device using the requested               VODAPHONE(R) account is not being used and offers the best
communication link. For example, the AT&TR) subscriber                  rate for London during the day, and obtains the authentication
can then place any calls using his cellular phone, which acts           information for that VODAPHONER) account from the SIM
as a local cellular phone.                                              card associated with that account.
  FIGS. 9A and 9B are embodiments of methods 900 and                      The authentication information is then sent to the wireless
928 respectively of establishing a virtual local wireless ser           communication client 106, over the data link, at 914. The
vice for the wireless communication client 106 (FIG. 1) using      25   wireless communication client 106 receives the authentica
the wireless extension unit 108 (FIG. 1). In some embodi                tion information and sends it to extension unit 108 at 916.
ments, wireless communication client 106 does not have the              Alternatively, the authentication information is sent directly
capability of accessing a radio for communications services,            to the extension unit 108 via the data link established by the
Such as Voice, while using the data connection (established             wireless communication client 106. Again this authentication
for instance, using the method described in reference to FIG.      30   information may be sent wirelessly or through a wire cou
7) to access remote authentication data to register as local            pling the devices. The authentication information is then
user. In such a case, wireless communication client 106 and             transmitted to the service provider by the extension unit 108
the wireless extension unit 108 may be used together.                   at 918. The service provider 110 then authenticates the wire
  In the embodiment illustrated in FIG. 9A, the wireless                less communication extension unit as a local wireless com
communication client 106 uses the data connection (estab           35   munication client, at 920, and provides the requested service
lished for instance, using the method described in reference to         to the wireless communication extension unit at 922. The
FIG. 7) to access remote authentication data, and the wireless          extension unit 108 then provides a conduit for the requested
extension unit 108 accessing a radio for providing communi              service to the wireless communication device at 924. The
cations services. With reference to FIG. 9A, as soon as the             wireless communication client may then communicate with a
wireless communication client 106 is turned on, it establishes     40   destination device via the extension unit. For example, the
a data connection as described in relation to FIG. 7. As soon           AT&TR) subscriber can then place any calls using his cellular
as the wireless extension unit 108 is turned on, or first               phone which are communicated via the extension unit to the
attempts to make a call, it requests access to the desired local        destination party, i.e., the subscriber’s AT&TR) cellular phone
wireless service by sending a request to the local service              acts as a local VODAPHONE(R) cellular phone.
provider 110 over signal link at 902. For example, a sub           45     In the embodiment illustrated in FIG. 9B, the wireless
scriber with an AT&T Raccount in San Francisco turns on his             extension unit 108 uses the data connection (established for
extension unit and phone in London. Initially, the service              instance, using the method described in reference to FIG. 7) to
provider 110 responds by requesting authentication informa              access remote authentication data, for instance, on behalf of
tion over signal link from the wireless communication exten             the wireless communication client 106. FIG. 9B is an
sion unit 108 at 904. The remote authentication module 524         50   embodiment of a method 928 of establishing a local wireless
(FIG.5A) on the wireless communication extension unit 108               service for the wireless communication client 106 (FIG. 1)
then requests local authentication information from the wire            using the wireless extension unit 108 (FIG. 1). As soon as the
less communication device 106 at 906. Alternatively, the                wireless communication client 106 is turned on or attempts to
remote authentication module 524 (FIG. 5) on the wireless               make a call, it requests access to the desired local wireless
communication extension unit 108 then requests local               55   service by sending a request to the local service provider 110
authentication information from the administration system               at 930. For example, a subscriber with an AT&TR) account in
116, over the data channel established between the client 106           San Francisco turns on his extension unit and phone in Lon
and the administration system 116. In some embodiments,                 don. The service provider 110 responds by requesting authen
communication between the wireless communication exten                  tication information from the wireless communication client
sion unit 108 and the service provider 110 occurs via the          60   106 at 932. Theremote authentication module 524 (FIG.5) on
wireless communication client 106. In some embodiments,                 the wireless communication client 106 then requests local
communications between the extension unit 108 and the cli               authentication information from the wireless communication
ent 106 are via BLUETOOTH wireless connection, while in                 extension unit 108 at 906. In some embodiments, communi
other embodiments, the communications may occur over a                  cations between the client 106 and the extension unit 108 are
wire coupling the devices.                                         65   via BLUETOOTH wireless connection, while in other
  The request typically includes the request received from              embodiments, the communications may occur over a wire
the service provider, a unique Subscriber or wireless commu             coupling the devices.
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  At this time or earlier, the extension unit 108 establishes a          suitable and then obtains the authentication information for
data connection to the service provider 110 as described                 that account from the authentication bank 126.
above in relation to FIG. 7. The extension unit 108 then                    The authentication information is then sent to the wireless
requests authentication information from the administration              communication client 106 or extension unit 108, over the data
system 116, via the data channel, at 936. The request typically          link, at 1012. The client 106 or extension unit 108 receives the
includes the request received from the service provider, a               authentication information and it or the other of the client 106
unique Subscriber or wireless communication extension unit               or extension unit 108 sends it to the service provider at 1014.
identifier and/or password, and the wireless communication               Again this authentication information may be sent wirelessly
clients current location. The administration system 116                  or through a wire coupling the devices. The service provider
                                                                    10   110 then authenticates the wireless communication client 106
receives the request for the authentication information and              as a local wireless communication client, at 1016, and con
Verifies that the Subscriber has an account in good standing, at         tinues to provide the requested service to the wireless com
938, by searching the subscriber database for the account                munication client 106 or extension unit 108 at 1018. The
associated with the particular subscriber of wireless commu              wireless communication client 106 may then continue to
nication client. If the subscriber (or wireless communication       15   communicate with a destination device. For example, the
extension unit) is verified, the authentication server 119 of the        AT&TR) subscriber can then place any calls using his cellular
administration system 116 obtains suitable local authentica              phone to the destination party, i.e., the subscriber’s AT&T(R)
tion information from the authentication bank 126, at 940. In            cellular phone acts as a localVODAPHONER) cellular phone.
particular, the management module 216 (FIG. 2A) on the                      Once a cellular telephone subscriber is operating his or her
authentication server 119 (FIG. 1) determines which local                foreign cellular phone in a local cellular phone communica
wireless account is most Suitable and then obtains the authen            tion network as if it were a local cellular phone, the user can
tication information for that account from the authentication            easily make outgoing local calls at a local rate that is signifi
bank 126. For example, if the subscriber is calling during the           cantly lower than the roaming rate. In other words, when
day in London, the system determines from multiple accounts              making local outbound calls, or receiving local inbound calls
that a particular VODAPHONE(R) account is not being used            25   (described below), there is no distinction between the foreign
and offers the best rate for London during the day, and obtains          wireless communication client and any other local wireless
the authentication information for that VODAPHONE(R)                     communication client. However, if the user desires to call a
account from the SIM card associated with that account.                  non-local number, e.g., if a Subscriber from San Francisco
  The authentication information is then sent to the wireless            visiting London wants to call a now long-distance number in
communication extension unit 108, over the data link, at 942.       30   San Francisco, the non-local call is routed to a local commu
The extension unit 108 receives the authentication informa               nication server and then routed to an appropriate communi
tion and sends it to the wireless communication client 106 at            cation server which serves San Francisco area with economi
944. Again this authentication information may be sent wire              cal rate, to reach the destination. See the description of FIG.
lessly or through a wire coupling the devices. The authenti              SB.
cation information is then transmitted to the service provider      35      For incoming calls, the user manually, or via the service
by the client 106 at 948. The service provider 110 then                  described herein (manually or automatically), temporarily
authenticates the wireless communication client 106 as a                 has all calls forwarded to a unique local telephone number (or
local wireless communication client, at 950, and provides the            telephone number and unique extension code) at a commu
requested service to the wireless communication client 106 at            nication server 128 (FIG. 1) closest to the subscriber's home
952. The wireless communication client 106 may then com             40   location. The routing database 130 at this communication
municate with a destination device. For example, the AT&T(R)             server 128 (FIG. 1) constantly associates the unique local
Subscriber can then place any calls using his cellular phone to          telephone number assigned to the subscriber with the current
the destination party, i.e., the subscriber’s AT&TR cellular             local telephone number assigned to the subscriber. For
phone acts as a local VODAPHONE(R) cellular phone.                       example, if the user is currently in London, and has a particu
   FIG. 10 is an embodiment of a flow diagram of a method           45   lar VODAPHONER) account and telephone number assigned
1000 re-authenticating with the service provider 110 of FIG.             to him, the routing number associates the unique local tele
1. Every so often, the wireless communication client 106                 phone number with the subscriber's currentVODAPHONE(R)
and/or extension unit 108 may need to re-authenticate with               local number. Then, when a call is made to the subscriber's
the service provider 110. This is generally required by the              regular number, it is forwarded to nearest communication
service provider 110 to thwart security breaches. Once the          50   server, and then routed to the current local number associated
service provider has provided the requested service, at 1002,            with the subscriber (e.g., VODAPHONER) number) where
as described above, the service provider 110 may periodi                 the user receives the call. Incoming calls are routed as is most
cally, or at any time, request re-authentication at 1004.                efficient or suitable for the subscriber and service operator.
Depending on the embodiment, the client 106 or extension                 For example, the incoming call may be routed from the com
unit 108 then requests re-authentication from the administra        55   munication server nearest the Subscriber's home location to
tion server 116 over the data link at 1006. As before, the               another communication server nearest the Subscriber's cur
administration system 116 receives the request for the authen            rent local location over VOIP. This greatly reduces the cost of
tication information and verifies that the subscriber has an             incoming calls, and the entire process is transparent to the
account in good standing, at 1008, by searching the Sub                  subscriber and the party calling the subscriber.
scriber database for the account associated with the particular     60      It should be appreciated that the system described in FIG.
subscriber of wireless communication client. If the subscriber           1 and the methods described in FIG. 6-10 can be used for
(or wireless communication extension unit) is verified, the              providing any other type of wireless voice or data service,
authentication server 119 of the administration system 116               such as WIMAX, WFI, VOIP, etc. For instance, in the case of
obtains suitable local authentication information from the               wireless data services, like WIFI or WIMAX, users connect to
authentication bank 126, at 1010. In particular, the manage         65   remote wireless access points or “hotspots” by first connect
ment module 216 (FIG. 2A) on the authentication server 119               ing through a data channel on their cellular telephone to the
(FIG. 1) determines which local wireless account is most                 administration server, obtaining authentication information
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(such as a username and password) for the WIMAX or WIFI                   Furthermore, the figures herein are intended more as func
network; and then using this authentication information for            tional description of the various features which may be
accessing the WIFI or WIMAX network on their cellular                  present in a set of servers than as a structural schematic of the
phone, laptop, etc.                                                    embodiments described herein. In practice, and as recognized
                                                                       by those of ordinary skill in the art, items shown separately
                  Alternative Embodiments                              could be combined and some items could be separated. For
                                                                       example, some items shown separately in the Figures could
  Some wireless communication clients do not allow modi                be implemented on single servers and single items could be
fication of the authentication data (for example, Ki) and soft         implemented by one or more servers. The actual number of
ware procedures stored in the SIM 530, other than through         10   servers and how features are allocated among them will vary
normal GSM communications with the network 102. As a                   from one implementation to another, and may depend in part
result, in embodiments in which such data is downloaded to             on the amount of data traffic that the system must handle
wireless communication client 101 from administration sys              during peak usage periods as well as during average usage
tem 116 cannot be implemented completely. To overcome                  periods.
this limitation, one alternative embodiment downloads appli       15     What is claimed is:
cation software and authentication data (such as, IMSI, Kc               1. A method of operating a foreign wireless communica
and other parameters capable of being transmitted and stored           tion device in a local communication network as a virtual
on the client) to the memory of the wireless communications            local communication device, said method comprising:
system, such that during operations the authentication data is            enabling an initial setting of said foreign wireless commu
communicated to the network 102 in place of the SIM-stored                  nication device for enrolling said foreign wireless com
data. Accordingly, during enrollment (FIG. 6), the provision                munication device in service, wherein said initial setting
ing server 132 transmits to the subscriber, application soft                is based on communications between said foreign wire
ware that supports this embodiment. The subscriber installs                 less communication device and a remote administration
that software in its memory. During registration (FIG. 6), the              system, said foreign wireless communication device
provisioning server 132 downloads key authentication              25        comprises a foreign wireless client and an extension unit
parameters, such as IMSI, to the subscriber. The subscriber                 which are coupled with each other, said extension unit
then stores the transmitted data in memory.                                 wirelessly communicating directly with said foreign
   When establishing the data link (FIG. 7), the service pro                wireless client, said local communication network and
vider 110 requests authentication information from the wire                 said remote administration system, and said remote
less communication client 106 (or wireless extension unit         30        administration system further comprises at least one
108), at 704. The service provider 110 reads the authentica                 authentication server, at least one provisioning server, at
tion data received from the authentication server 118 and                   least one communication server, at least one subscriber
stored in the memory of the wireless communication client                   database, at least one routing database, and at least one
106 (or wireless extension unit 108) and does not read authen               authentication bank having a plurality of Subscriber
tication data stored in the local SIM. Additionally, during       35        identity modules (SIMs), phones and authentication
other operations that require authentication information, the               data, and wherein said at least one authentication server
application software 524 intervenes and causes the wireless                 and said at least one provision server are coupled to a
communication client 106 (or wireless extension unit 108) to                data network;
transmit or use the authentication information received from             establishing a data communication link to transmit infor
the provisioning server 132 instead of the SIM-stored data.       40        mation among said foreign wireless communication
   Alternatively or in addition, in some embodiments, authen                device, a service provider in said local communication
tication data received from the authentication server 118 may               network, and said remote administration system upon
not be stored at the wireless communications system 101.                    said enabling said initial setting, wherein said service
This may be due to the nature of authentication data (e.g.,                 provider comprises a plurality of mobile telephone
authentication data may change dynamically), and/or due to        45        Switching centers and base cellular centers, and said
Some quality of the wireless communications system 101                      service provider further is coupled to said data network
(e.g., wireless communications system 101 has limited and/or                and a phone network;
insecure memory). In these cases, whenever authentication or             establishing a local authentication information which
re-authentication by service provider 110 is required, the                  includes a local number and an International Mobile
wireless communications system 101 follows re-authentica          50        Subscriber Identity (IMSI) in response to a local authen
tion procedure 1000 (FIG. 10). Accordingly, the wireless                    tication request by said service provider to said foreign
communications system 101 requests authentication data                      wireless client upon said established data communica
from administration system 116 whenever authentication or                   tion link, wherein said extension unit wirelessly relays
re-authentication by service provider 110 is required.                      said local authentication information request to said at
   The foregoing description, for purpose of explanation, has     55        least one authentication server and obtains a Suitable
been described with reference to specific embodiments. How                  local authentication information from said at least one
ever, the illustrative discussions above are not intended to be             authentication bank coupled to said at least one said
exhaustive or to limit the invention to the precise forms dis               authentication server,
closed. Many modifications and variations are possible in                establishing a virtual local wireless service provided by
view of the above teachings. For example, the described           60        said service provider to said foreign wireless client
embodiments can utilize different registration, power-up,                   according to said obtained suitable local authentication
call-out or call-in procedures than those described here. The               information, wherein said virtual local wireless service
embodiments were chosen and described in order to best                     is wirelessly requested by said extension unit through
explain the principles of the invention and its practical appli            said remote administration system; and
cations, to thereby enable others skilled in the art to best      65     providing a communication service to said foreign wireless
utilize the invention and various embodiments with various                 communication device according to said established Vir
modifications as are Suited to the particular use contemplated.            tual wireless service, wherein said foreign wireless cli
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                              23                                                                     24
     ent becomes said virtual local wireless communication                looking for Suitable local authentication information from
     device acting as a local cellular phone with an assigned               said at least one authentication bank in response to the
     local phone number over a voice link via said phone                    requested local authentication information; and
     network and/or said data link via said data network                  sending said Suitable local authentication information
                                                                             found from said at least one authentication bank to said
     through said at least one communication server, and said                extension unit from said remote administration system
     at least one communication server is coupled to said data               over said established data link.
     network, said phone network and said at least one rout               5. The method of claim 4, wherein responding by request
     ing database having lists of preferred routing details for         ing an authentication information step further comprising:
     connections between different geographic locations,           10     responding by requesting said authentication information
     and said assigned local phone number is based on said                   from said service provider to said foreign wireless cli
     obtained suitable local authentication information.                     ent; and
   2. The method of claim 1, wherein the enabling an initial              transmitting said responding from said foreign wireless
setting step further comprising:                                             client to said extension unit.
   requesting a Subscription to said remote administration         15
                                                                           6. The method of claim 4, wherein the requesting said local
      system from said foreign wireless client, said extension          authentication information step further comprising:
      unit, or a combination of said foreign wireless client and           requesting said local authentication information by said
                                                                              extension unit to said foreign wireless client; and
     said extension unit;                                                 transmitting said requesting from said foreign wireless
  establishing account details of said foreign wireless client                client to said remote administration system.
     and/or said extension unit, wherein said account details              7. The method of claim 4, wherein sending said suitable
     are then stored in said at least one subscriber database by        local authentication information step further comprising:
     said at least one authentication server,                              sending said Suitable local authentication information
   downloading and installing a remote authentication mod                    found from said at least one authentication bank to said
      ule from said remote administration system to said for                  foreign wireless client from said remote administration
      eign wireless client and/or said extension unit;             25         system over said established data link; and
  transmitting credential parameters and location parameters              transmitting said Suitable local authentication information
      of said foreign wireless client and/or said extension unit              from said foreign wireless client to said extension unit.
      to said at least one provision server, wherein said cre              8. The method of claim 1, wherein the establishing a virtual
      dential parameters and said location parameters are then          local wireless service step further comprising:
      stored in said at least one provision server; and            30      sending said obtained Suitable local authentication infor
   sending an acknowledgement to said foreign wireless cli                    mation by said extension unit to said service provider;
                                                                             and
      ent and/or said extension unit upon said credential                 authenticating said extension unitas said virtual local wire
      parameters and said location parameters are stored in                  less communication device.
      said at least one provision server.                                 9. The method of claim 8, wherein the providing a com
   3. The method of claim 1, wherein the establishing a data       35   munication step further comprising:
link step further comprising:                                             providing a communication service to said extension unit
   sending a request for said data link from said foreign wire               according to said authenticating said extension unit as
     less client and/or said extension unit to said service                  said virtual local wireless communication device;
    provider over a command link:                                         providing a conduit for said communication service by said
  requesting an authentication information stored in said          40       extension unit to said foreign wireless client; and
    foreign wireless client and/or said extension unit from               communicating with a destination device by said foreign
    said service provider to said foreign wireless client and/               wireless client via said extension unit.
     or said extension unit over said command link:                        10. The method of claim 1, wherein the establishing a
  locating said authentication information stored in, said for          virtual local wireless service step further comprising:
    eign wireless client and/or said extension unit;               45      sending said obtained Suitable local authentication infor
  sending the located authentication information to said Ser                 mation by said extension unit to said foreign wireless
    Vice provider over said command link:                                    client;
  receiving the located authentication information from said              transmitting said obtained suitable local authentication
    foreign wireless client and/or said extension unit at said               information from said foreign wireless client to said
     service provider;                                             50
                                                                             service provider, and
  authenticating said foreign wireless client and/or said                 authenticating said foreign wireless client as said virtual
                                                                             local wireless communication device.
    extension unit according to the received authentication               11. The method of claim 10, wherein the providing a com
    information by said service provider; and                           munication step further comprising:
  providing said data link, which is different to said com                providing a communication service to said foreign wireless
    mand link, upon said authenticated said foreign wireless       55       client according to said authenticating said foreign wire
     client and/or said extension unit.                                      less client as said virtual local wireless communication
   4. The method of claim 1, wherein the establishing a local                device; and
authentication information step further comprising:                       communicating with a destination device by said foreign
   sending a request for the communication service from said                 wireless client.
      extension unit to said service provider over a command       60      12. The method of claim 1, wherein said foreign wireless
     link;                                                              client and said extension unit are configured to one device.
  responding by requesting authentication information from                 13. The method of claim 1, wherein said foreign wireless
    said service provider to said extension over said com               client and said extension unit are configured to two individual
     mand link:                                                         devices.
  requesting said local authentication information by said         65      14. The method of claim 1, the method further comprising
    extension unit from said remote administration system               requesting a re-authentication by said service provider to said
     over said established data link:                                   foreign wireless communication device.
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   15. The method of claim 14, wherein requesting a re                 receiving said suitable local re-authentication information
authentication step further comprising:                                  by said foreign wireless client and/or said extension
   providing a request for the communication service by said             unit;
      service provider to said foreign wireless client and/or          sending said suitable local re-authentication information
     said extension unit over a command link:                    5       from said foreign wireless client and/or said extension
  requesting authentication information from said service                unit to said service provider,
    provider to said foreign wireless client and/or said exten         authenticating said foreign wireless client and/or said
    sion unit over said command link periodically;                       extension unitas said virtual local wireless communica
  requesting local re-authentication information by said for             tion device; and
     eign wireless client and/or said extension unit from said to      continuing to provide said communication service to said
    remote administration system over said data link:                    foreign, wireless client and/or said extension unit.
  looking for Suitable local re-authentication information              16. The method of claim 1, wherein said local authentica
    stored in said remote administration system by said              tion information is stored in one of SIM cards, universal
    remote administration system;                                    subscriber identity module (USIM) cards, removable identity
  sending said suitable local re-authentication information to is module (RUIM) cards, Willcom-SIM cards.
    said foreign wireless client and/or said extension unit
     from said remote administration system over said data
     link;
